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11
                                          SAN JOSE DIVISION
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13   UNITED STATES OF AMERICA,                       )   No. CR 17-00237-3 BLF
                                                     )
14           Plaintiff,                              )   UNITED STATES’ SENTENCING
                                                     )   MEMORANDUM
15      v.                                           )
                                                     )   Date: December 15, 2020
16   MARTHA ZUNIGA-TIRADO,                           )   Time: 9:00 A.M.
                                                     )   Court: Courtroom 3, Floor 5
17           Defendant.                              )
                                                     )
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19           On June 23, 2020, defendant Martha Zuniga-Tirado pled guilty to Count Four of the captioned
20 Indictment (ECF No. 8) charging her with Possession with Intent to Distribute Methamphetamine. ECF

21 Nos. 150–51. The parties are scheduled to appear before the Court on December 15, 2020, for a

22 sentencing hearing.

23           The government agrees with the offense conduct as it is described by the U.S. Probation Office
24 in paragraphs 9 to 25 of the Presentence Investigation Report (PSR), ECF No. 155. The government

25 also agrees that the guideline imprisonment range is 46 to 57 months. PSR ¶ 82. This guideline range

26 adequately accounts for the defendant’s offense conduct, including factors such as the quantity and

27 purity of methamphetamine that the defendant delivered, the defendant’s lack of criminal history, and

28 the defendant’s minor role in the instant offense. The government recognizes that there are mitigating

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 1 factors that may warrant a sentence below the guideline range, see PSR ¶ 99, and that a range of

 2 reasonable sentences are available to the Court in this case. The government does not offer a specific

 3 sentencing recommendation, but offers for the Court’s consideration the following aggravating factors

 4 that weigh against a sentence below the guideline range, or at least against a significant downward

 5 variance.

 6          First, although there “are no identifiable victims in this case,” PSR ¶ 26, that does not mean that

 7 methamphetamine trafficking is a victimless crime. According to the San Francisco Department of

 8 Public Health, methamphetamine “is a growing and evolving public health and safety concern,” and

 9 “[n]umerous indicators suggest increasing methamphetamine-related morbidity and mortality.” See
10 Overview of Methamphetamine Usage & Trends in SF (April 2019), SF DEPARTMENT OF PUBLIC

11 HEALTH, OFFICE OF POLICY AND PLANNING, at 1–2, available at

12 https://www.sfdph.org/dph/files/MethTaskForce/Meeting%201%20Issue%20Brief.pdf. For example,

13 “[d]eaths determined to have been caused by methamphetamine in San Francisco have steadily

14 increased from 1.8 per 100,000 in 2008 to 11.5 in 2017,” when “22 percent of the city’s overdose deaths

15 involving cocaine … [and] 35 percent of overdose deaths from fentanyl also involved

16 methamphetamine.” Id. at 4. Ms. Zuniga was well aware of the dangers of methamphetamine use, as

17 she previously used methamphetamine herself and became upset when her minor son found a bag of

18 methamphetamine that a codefendant had left in her home. PSR ¶ 18. Despite this awareness, she was

19 willing to help distribute methamphetamine to other people, not because she was in extremis, but to earn

20 money to go shopping for clothes. PSR ¶ 17.

21          Second, although the PSR Sentencing Recommendation is premised in part on the idea that

22 “[t]he defendant’s involvement in the conspiracy consisted of a single transaction for which she received

23 $600,” that in fact is not true. Ms. Zuniga was associated with codefendant Ricardo Rios-Angulo for

24 several years and knew that he was a drug trafficker. PSR ¶ 17. In addition to delivering drugs, she also

25 “delivered large amounts of currency” for him, and let him work on vehicles in her barn so that he could

26 modify those vehicles and use them “to conceal and transport methamphetamine from Mexico to

27 California.” PSR ¶ 18. In other words, because the guideline imprisonment range only takes into

28 account the drugs involved in a single transaction, it does not take into account the full scope of the

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 1 defendant’s involvement in the drug conspiracy. Consequently, her further involvement must be

 2 considered an aggravating factor.

 3          As noted above, the government is not making a specific sentencing recommendation, but is

 4 offering the aggravating factors above so that the Court may consider the totality of the circumstances in

 5 fashioning an appropriate sentence.

 6

 7 DATED: December 8, 2020                                      Respectfully submitted,

 8                                                              DAVID L. ANDERSON
                                                                United States Attorney
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10
                                                                /s/ Scott Simeon
11                                                              SCOTT SIMEON
                                                                Assistant United States Attorney
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